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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

         v.
                                                             No. 22-cr-392 (DLF)
 ABU AGILA MOHAMMAD MAS’UD
 KHEIR AL-MARIMI,

                 Defendant.




                                        PRETRIAL ORDER

        In order to administer the trial of the above-captioned criminal case in a manner that is

fair and just to the parties and is consistent with the goal of completing the trial in this case in the

most efficient manner, it is hereby ORDERED that counsel will comply with each of the

following procedures and requirements.

        1. Trial. Trial is scheduled to commence on May 12, 2025, at 9:00 a.m. in Courtroom

14. The following deadlines shall govern pretrial proceedings:

        2. Discovery. The government shall make every reasonable effort to provide all materials

required by Fed. R. Crim. P. 16 and this Court’s standing order by July 31, 2024. If, after

reasonable efforts, the government believes it will be unable to provide the materials by that

date, it shall so notify the defense, and the parties shall meet and confer before notifying the

Court. If the government receives discoverable materials after July 31, 2024, the government

shall promptly tender those materials to the defense.
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       The Court is aware that it is entering this order 14 months before trial is scheduled to

begin. The dates in this order may need to be modified. To the extent either party believes, after

entry of this order, that it will be unable to meet one of the deadlines within, the parties are

ordered to meet and confer and to propose a joint modification, if possible. If the parties are

unable to reach agreement, they shall file a joint status report that reflects their respective

positions.

       3. The Parties shall file, no later than May 1, 2024, a proposed schedule for classified

discovery and motions, which will be governed by the Classified Information Procedures Act, 18

U.S.C. App. 3 (CIPA).

       4. The United States shall make its first notification to the defendant of its intention to

introduce evidence governed by Fed. R. Evid. 404(b) by August 21, 2024.

       5. The Parties shall file any motions to dismiss the indictment or counts therein, motions

to suppress the defendant’s statement, motions to challenge venue, or other dispositive motions,

if any, by September 4, 2024; oppositions shall be filed by September 25, 2024; and replies

shall be filed by October 4, 2024. The Court will schedule a hearing on the above motions as

necessary.

       6. Each party shall make expert disclosures to the opposing party pursuant to Fed. R.

Crim. P. 16 for experts it reasonably expects it may seek to call in its case-in-chief by October 2,

2024. The parties will make reciprocal expert disclosures for any experts they may seek to call in

response to those initial disclosure no later than December 2, 2024. By January 15, 2025, the

government shall make any required expert disclosures pursuant to Fed. R. Crim. P. 16(a)(1)(G)

to rebut experts noticed by the defendant between October 2 and December 2, 2024.
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       7. The Parties shall file any remaining motions to suppress testimony or evidence, and

any motions to exclude the testimony of experts noticed on or before December 2, 2024, if any,

by January 8, 2025; oppositions shall be filed by January 29, 2025; and replies shall be filed by

February 7, 2025. The Court will schedule a hearing on the above motions as necessary.

       8. The United States shall notify the defendant of its intention to introduce any Fed. R.

Evid. 404(b) evidence not previously identified by February 26, 2025.

       9. The Defendant shall provide any notice required by Fed. Rs. Crim. P. 12.1 or 12.3 by

February 26, 2025, and the Defendant shall provide any notice required by Fed. R. Crim. P.

12.2 by December 17, 2024.

       10. The parties shall exchange their exhibits and preliminary witness list by no later than

March 12, 2025. The exhibit list shall include any exhibit that each side anticipates it may

introduce in its case-in-chief. The Parties need not list any exhibit that might be used only for

purposes of impeachment.

       11. Except as otherwise noted in this Pretrial Order, the Parties shall file any other

pretrial motions, including motions in limine, and any motions to exclude the testimony of

experts noticed after December 2, 2024, by March 19, 2025; oppositions shall be filed by April

2, 2025; and replies shall be filed by April 9, 2025.

       10. By April 16, 2025, counsel shall file a Joint Pretrial Statement that contains the

following:

       a. A neutral statement of the case. The Parties shall include a neutral statement of the case

for the court to read to prospective jurors.
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       b. Voir dire. The Court will determine at a later date whether it will use a jury

questionnaire.

       c. Proposed jury instructions. The Parties shall submit a list of all standard jury

instructions from the “Red Book” (Criminal Jury Instructions for D.C. (Barbara A. Bergman ed.,

May 2016 ed.)) that they wish to include in the final instructions. On or before March 19, 2025,

Parties shall provide the Court with a list of standard instructions and the full text of (1) any

modified standard jury instruction(s), including any preliminary instructions, with the proposed

modification(s) redlined, and (2) any nonstandard jury instruction which they wish to have the

Court include. As to each nonstandard jury instruction, the sponsoring party should set legal

authority for the proposed instruction, and the nonsponsoring party should state any objection to

the instruction, including any proposed modifications.

       d. Witnesses lists. The Parties shall identify the witnesses that each side anticipates it may

introduce in its case-in-chief. Only upon leave of court and a showing of good cause will a party

be permitted to withhold a witness’s identity.

       e. List of witnesses for voir dire. The Parties shall identify the witnesses about whom the

jury may hear. Only upon leave of court and a showing of good cause will a party be permitted to

withhold a witness’s identity.

       f. Exhibit list. The Parties shall exchange updated exhibit lists and shall exchange any

new or amended exhibits. The parties shall exchange digital copies of premarked exhibits. The

Parties must be prepared to raise objections to any proposed exhibit at a Pretrial Conference,

which is tentatively scheduled for April 23-24, 2025, beginning at 10:00 a.m. both days. The

objecting party shall provide the Court will three copies of any contested exhibit on April 21,
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2025. In addition, seven days before trial, each Party shall provide the Court with two copies of

its numbered exhibits in binders.

        g. Stipulations. The Parties shall submit a draft of all stipulations.

        h. Proposed verdict form. The Parties shall include a draft verdict form, including any

special interrogatories.

        11. Counsel shall appear on April 23-24, 2025, at 10:00 a.m. for a pretrial conference,

including a hearing on the above motions, if necessary, and to address other pretrial issues,

including objections to proposed voir dire questions, exhibits, jury instructions, and the verdict

form.

        12. After the Court has considered the parties’ proposed jury instructions and ruled on

any objections, the Parties shall submit to the Court, in Word format, an electronic copy of the

final jury instructions. The Parties shall also submit verdict form by email to Chambers and to

the courtroom deputy.




                                                                ________________________
                                                                DABNEY L. FRIEDRICH
                                                                United States District Judge
March 13, 2024
